                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

UNITED STATES OF AMERICA
       V.
                                                 CASE NUMBER: 3:11CR288
Luis Fernando Gonzales


       THIS MATTER is before the Court on an Order of limited Remand, filed

3/14/2013, from the Fourth Circuit Court of Appeals for ruling on the defendant’s motion

to reconsider.

       NOW, THEREFORE, IT IS ORDERED that:

The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

transport & produce the body of    Defendant, Luis Fernando Gonzales (USM#

26645-058), for motion hearing before the honorable Max O. Cogburn, Jr., in the

Western District of North Carolina, Charlotte not later than March 28, 2013, and upon

completion of the hearing on Motion for Indicative Ruling, Defendant is to be returned to

the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.

        Signed: March 19, 2013




       Case 3:11-cr-00288-MOC        Document 80      Filed 03/19/13    Page 1 of 1
